
691 F.Supp. 1338 (1988)
SAVE OUR DUNES, et al., Plaintiffs,
v.
Leigh PEGUES, etc., et al., Defendants.
Civ. A. No. 84-T-518-N.
United States District Court, M.D. Alabama, N.D.
June 10, 1988.
L. Gilbert Kendrick, Montgomery, Ala., Frederick S. Middleton, III, Charlottesville, Va., for plaintiffs.
David Ludder, Alabama Dept. of Environment Management, Legal Div., Montgomery, Ala., for Ala., Dept. of Environmental Management and Broadwater.
Euel Screws, Richard Gill, John Henig, Copeland, Franco, Screws &amp; Gill, Montgomery, Ala., William J. Baxley, Joel Dillard, Baxley, Beck, Dillard &amp; Dauphin, Birmingham, Ala., for Collegiate Enterprises.
John C. Bell, U.S. Atty., Kenneth E. Vines, Asst. U.S. Atty., Montgomery, Ala., Wells D. Burgess, U.S. Dept. of Justice, Land &amp; Natural Resources Div., General Litigation Section, Washington, D.C., for Federal defendants.
Rodney Slusher, Peck, Slusher and Bunch, Florence, Ala., for Developers South, Inc.
David P. Broome, McDonough &amp; Broome, Mobile, Ala., for Ala. Dept. of Environmental Management.
David R. Boyd, Balch, Bingham, Baker, Ward, Smith, Bowman &amp; Thagard, Montgomery, Ala., for Ala. Environmental Management Comm., White, DeBray, Elliot, Riley, McDonald, Farnell &amp; Graves.

ORDER
MYRON H. THOMPSON, District Judge.
Upon consideration of the opinion of the United States Court of Appeals for the Eleventh Circuit, dated December 31, 1987, 834 F.2d 984 (11th Cir.1987), wherein the judgments of this court made and entered herein on December 17, 1985 and January 8, 1987, 661 F.Supp. 18 (M.D.Ala.1987); 642 F.Supp. 393 (M.D.Ala.1985), to the extent they addressed the plaintiffs' "due process" claim were reversed and remanded to this court; and upon receipt on June 6, 1988, of the mandate of said appellate court issued in this cause, it is the
ORDER, JUDGMENT, and DECREE of this court that the judgments of this court made and entered herein on December 17, 1985 and January 8, 1987, to the extent they addressed the plaintiffs' "due process" claim are vacated, and that judgment is entered in favor of the state defendants and against the plaintiffs on said claim.
